          Case 5:24-cv-03811-EKL            Document 341       Filed 04/30/25      Page 1 of 13




 1   [Counsel on signature page]

 2                               UNITED STATES DISTRICT COURT

 3                            NORTHERN DISTRICT OF CALIFORNIA

 4                                        SAN JOSE DIVISION

 5   CONCORD MUSIC GROUP, INC., ET AL.,                 Case Number: 5:24-cv-03811-EKL-SVK

 6         Plaintiffs,                                  JOINT DISCOVERY SUBMISSION
                                                        REGARDING DISPUTE AS TO
 7         v.                                           SAMPLING PROTOCOL TO ADDRESS
 8   ANTHROPIC PBC,                                     PUBLISHERS’ RFP NOS. 50-51

 9         Defendant.                                   REDACTED

10                                                      Judge Eumi K. Lee
                                                        Magistrate Judge Susan van Keulen
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                                                                         Case No. 5:24-cv-03811-EKL-SVK
                JOINT DISCOVERY SUBMISSION REGARDING SAMPLING PROTOCOL TO ADDRESS PUBLISHERS’ RFPS 50-51
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 2 of 13
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 3 of 13
            Case 5:24-cv-03811-EKL          Document 341         Filed 04/30/25      Page 4 of 13




 1          This variance in the prevalence of prompts and output to be analyzed, the overlapping and

 2   subjective nature of the data, and the fact that much about the data to be analyzed remains unknown

 3   at this time all favor a larger sample size to ensure statistical significance. Ex. 1, Buchan Decl. ¶¶

 4   13-14, 19, 37. Publishers’ proposed 24.5-million-record sample will better allow the Parties to

 5   analyze both frequent and infrequent occurrences alike, ensuring any conclusions derived from the

 6   sample are more reliable and precise. Id. ¶¶ 30-37; In re Countrywide Fin. Corp. Mortg.-Backed

 7   Sec. Litig., 984 F. Supp. 2d 1021, 1033 (C.D. Cal. 2013) (“[T]o draw reliable conclusions about a

 8   population based on a statistical sample, the sample size must be large enough to support those

 9   conclusions.”). The larger the sample, the more precise the conclusions. Buchan Decl. ¶¶ 14, 37.

10          By comparison, Anthropic’s proposed 1-million-record sample is too small to account for

11   the more rare occurrences—such as Anthropic’s founder using Claude to search for Publishers’

12   lyrics, the very thing Anthropic denied designing Claude to do—that are still central to the case.

13          Anthropic also seeks to apply an “assumed prevalence rate” of 0.006% across the board.

14   But that one-size-fits-all approach is inappropriate here. As explained above, assuming any single

15   prevalence rate vastly oversimplifies the many unique types of prompts and output and different

16   issues to be analyzed. Publishers’ larger sample size takes these considerations into account.

17          Publishers’ proposed sample size is also more consistent with commonly accepted

18   surveying and sampling practices. Publishers’ sample size calculation is based on the following:

19      •   95% confidence level: Publishers understand that the Parties are in agreement on this figure.
20      •   5% relative margin of error: This margin of error is commonly utilized for sampling
            purposes, including rare event sampling, and comes with the added benefit of increasing
21          the precision of any estimates derived from the sample data. Buchan Decl. ¶ 29.
22      •   Anthropic’s “assumed prevalence rate” of 0.006%: Publishers are willing to accept,
23          arguendo, Anthropic’s assumed prevalence rate for purposes of calculating a sample size.

24   Based on these figures, a statistically significant sample is 24.5 million records. Id ¶¶ 34, 36.

25          By contrast, Anthropic’s proposed 1-million-record sample utilizes the same 95%

26   confidence level and 0.006% prevalence rate, but is premised on a much larger and less precise

27   25% relative margin of error. A 25% margin of error is not appropriate here and is on the very

28   outer threshold of standard practice. Id. ¶¶ 30-32. This inflated margin of error appears designed

                                                     3                  Case No. 5:24-cv-03811-EKL-SVK
               JOINT DISCOVERY SUBMISSION REGARDING SAMPLING PROTOCOL TO ADDRESS PUBLISHERS’ RFPS 50-51
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 5 of 13
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 6 of 13
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 7 of 13
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 8 of 13
           Case 5:24-cv-03811-EKL           Document 341         Filed 04/30/25      Page 9 of 13




 1   margin of error—widely accepted for extremely rare events—a sample size of 1 million would

 2   validly reflect events in the overall population with prevalence rates as low as 0.006%. Using a

 3   more stringent 20% relative margin of error, a 1 million record sample size would still capture

 4   events with prevalence rates as low as 0.01%. Id. ¶¶ 9–12. Any statistical power gained from a

 5   larger sample would be outweighed by the diminished efficiencies involved in running and

 6   reviewing the results from a larger sample. Id. ¶ 17–18; see also Fed. R. Civ. P. 26(b)(1) (courts

 7   must consider if “the burden or expense of the proposed discovery outweighs its likely benefit”).

 8          To the extent Plaintiffs argue that a sample of 1 million is inadequate because it represents

 9   too small a fraction of the overall population, that argument is unmoored from rigorous and

10   accepted statistical methods. See Chen Decl. ¶ 5 (setting forth the formula that “represents the

11   fundamental statistical approach to determining the minimum sample size needed to make valid

12   inferences about a very large dataset,” including “the one at issue here”). It is also unsupported by

13   case law in this Circuit, which recognizes that the fraction of a representative sample should

14   decrease as the total population (and burden) increases. See Guzman v. Chipotle Mexican Grill,

15   Inc., 2018 WL 6092730, at *3 (N.D. Cal. Nov. 21, 2018) (finding a 5% sample appropriate for a

16   “large” population of 43,000 and noting that courts imposed higher percentage samples for “much

17   smaller” populations); Heredia v. Sunrise Senior Living LLC, 2019 WL 7865176, at *6 (C.D. Cal.

18   Oct. 31, 2019) (finding a 15% sample of a 13,000 population “appropriately balances Plaintiffs’

19   discovery needs, Defendant’s burdens, and the privacy rights” of the individuals sampled and
20   noting that a larger sample “would be excessive”); Nia v. Bank of Am., N.A., 2023 WL 2583386,

21   at * 5 (S.D. Cal. Mar. 20, 2023) (considering the significant costs required to “process, review,

22   redact, and produce the proposed sample” in deciding to cut the sample size from 20% to 10%).

23          Plaintiffs’ insistence on a sample ten times the size that Anthropic proposes cannot be

24   supported by accepted statistical methods. See Deutsche Bank Nat’l Tr. Co. v. Morgan Stanley

25   Mortg. Cap. Holdings LLC, 289 F. Supp. 3d 484, 496 (S.D.N.Y. 2018) (“Properly done, statistical

26   sampling is not guesswork”). A sample of this size either assumes (a) an extraordinarily low
27   prevalence rate, far lower than the 0.01% or 0.006% already contemplated by Anthropic’s sample;

28   or (b) an unnecessarily stringent relative margin of error. Id. ¶ 17. With respect to (a), Plaintiffs’
                                                     8                  Case No. 5:24-cv-03811-EKL-SVK
               JOINT DISCOVERY SUBMISSION REGARDING SAMPLING PROTOCOL TO ADDRESS PUBLISHERS’ RFPS 50-51
           Case 5:24-cv-03811-EKL           Document 341         Filed 04/30/25      Page 10 of 13




 1   position throughout this litigation has been the opposite: that Claude was designed to—and

 2   frequently does—respond to prompts requesting song lyrics. See, e.g., Dkt. 1 ¶ 11 (“Anthropic

 3   unlawfully enables, encourages, and profits from massive copyright infringement by its users”);

 4   Dkt. 179 at 2 (“Anthropic intended and expected its AI models to respond to requests for Publishers’

 5   lyrics—as a feature, not a bug”); and Dkt. 225 at 10 (pointing to search results for the terms “lyric”

 6   and “song” to posit a “potentially huge volume of requests for lyrics by [Claude] users”). In their

 7   amended complaint filed last week, Plaintiffs allege that “literally millions of Claude prompt and

 8   output records contain the term ‘lyric,’” and that this means that “[c]ountless users . . . have

 9   prompted Claude for lyrics.” Dkt. 337 ¶¶ 9–10 (emphasis added). Plaintiffs now conveniently treat

10   lyric requests as extraordinarily rare events comparable to rare genetic diseases or lightning strikes.

11   If their claims have merit (which Anthropic disputes), Anthropic’s sampling proposal is already

12   more than adequate. And with respect to (b), Plaintiffs cannot explain why the Court must exceed

13   the margin of error standards that are routinely accepted by statisticians when analyzing rare

14   events. Chen Decl. ¶¶ 9, 17. Plaintiffs’ proposed sample size should be rejected.

15          B. Anthropic’s Proposed Sample Is Representative of the Entire Population

16          To extrapolate the results of a sample to the larger population, the sample “must be

17   randomly selected.” United States v. Nunez, 2021 WL 5494588, at *7 (D. Conn. Nov. 23, 2021).

18   “Random” means that every datapoint in the population has the same probability of becoming part

19   of the sample. See D. Freedman & D. Kaye, FJC, Manual on Scientific Evidence 230 (2011).
20   Scientific randomness “provides assurance of unbiased estimates.” Id; see also Chen Decl. ¶ 19.

21          Anthropic has proposed a true random sample: each Claude user interaction in the full

22   dataset would have an equal chance of being included. This would ensure the sample includes both

23   pre- and post-suit chat logs but does not suffer from any biases resulting from hand selecting chat

24   logs from non-representative periods, e.g., (1) weekends versus weekdays, or vice versa; (2)

25   months when Claude had a smaller userbase; and (3) periods of anomalous user activity (i.e.,

26   around the filing of Plaintiffs’ complaint when their agents were “investigating”). Chen Decl. ¶¶
27   19–22. Anthropic’s proposed sample would be unbiased and representative of the full population.

28          Plaintiffs’ proposal is not random in the rigorous, scientific sense because it suffers from
                                                     9                  Case No. 5:24-cv-03811-EKL-SVK
               JOINT DISCOVERY SUBMISSION REGARDING SAMPLING PROTOCOL TO ADDRESS PUBLISHERS’ RFPS 50-51
Case 5:24-cv-03811-EKL   Document 341   Filed 04/30/25   Page 11 of 13
         Case 5:24-cv-03811-EKL          Document 341        Filed 04/30/25     Page 12 of 13




 1   Dated: April 30, 2025                          Respectfully submitted,

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                                                    11                 Case No. 5:24-cv-03811-EKL-SVK
              JOINT DISCOVERY SUBMISSION REGARDING SAMPLING PROTOCOL TO ADDRESS PUBLISHERS’ RFPS 50-51
          Case 5:24-cv-03811-EKL            Document 341      Filed 04/30/25     Page 13 of 13




                                      SIGNATURE ATTESTATION
 1

 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
 3   document was obtained from all other signatories of this document. I declare under penalty of
 4   perjury that the foregoing is true and correct.
 5

 6    Dated: April 30, 2025                                         /s/ Timothy Chung
 7                                                                    Timothy Chung

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                                                                        Case No. 5:24-cv-03811-EKL-SVK
               JOINT DISCOVERY SUBMISSION REGARDING SAMPLING PROTOCOL TO ADDRESS PUBLISHERS’ RFPS 50-51
